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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 DEMAR PARKER,

       Plaintiff,
                                           Case No: 16-cv-13036-GAD-SDD
 vs.                                       Hon. Gershwin A. Drain
                                           Mag. Stephanie Dawkins Davis
 CITY OF DETROIT, a municipality,
 et al.,

 Jointly and severally,

       Defendants.

 SALVATORE PRESCOTT &                      CITY OF DETROIT LAW DEPT.
 PORTER, PLLC                              Gregory B. Paddison (P75963)
 Sarah S. Prescott (P70510)                Attorney for Defendants
 Nakisha N. Chaney (P65066)                2 Woodward Ave., Ste. 500
 Attorneys for Plaintiff                   Detroit, MI 48226
 105 East Main Street                      (313) 237-0435
 Northville, MI 48167                      paddisong@detroitmi.gov
 (248) 679-8711
 prescott@spplawyers.com
 chaney@spplawyers.com

              PLAINTIFF’S MOTION TO COMPEL WRITTEN
                       DISCOVERY RESPONSES

       NOW COMES Plaintiff, DEMAR PARKER, by and through his attorneys,

SALVATORE PRESCOTT & PORTER, PLLC, and for his Motion to Compel

Written Discovery Responses, states as follows:

       1. This is an excessive force civil rights case involving the shooting of the

          unarmed Plaintiff.
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      2. Three individual police officers are personally named as being involved in

         the matter: Townson, Blanding and Ways.

      3. Plaintiff promptly requested discovery upon filing this case, including

         basic items such as the training, personnel and discipline files of the named

         Defendants and also materials relating to the investigation.

      4. Defendant has not fully answered the discovery, so this motion calls on the

         Court to compel production.

      5. The attached brief fully identifies the discovery, Defendants’ inadequate

         or missing responses and the reasons for compelling production.

      6. The items in dispute are: Interrogatories 1-5 and 7-11, and Requests to

         Produce 1-2, 4-8, 11-18, 21-22, and 24-27.

      7. The operative/controlling rules of procedure are Fed. R. Civ. P. 33, 34, and

         37.

      8. Plaintiff made many contacts attempting to resolve this matter, but was

         unable to achieve compliance with the rules cited above.

      WHEREFORE, Plaintiff respectfully moves the Court to compel production

on Interrogatories 1-5 and 7-11, and Requests to Produce 1-2, 4-8, 11-18, 21-22, and

24-27.




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                                   Respectfully submitted,
                                   SALVATORE PRESCOTT &
                                   PORTER, PLLC

                                    /s/ Sarah S. Prescott
                                   Sarah S. Prescott (P70510)
                                   Attorneys for Plaintiff
                                   105 East Main Street
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Dated: July 28, 2017               prescott@spplawyers.com




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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 DEMAR PARKER,

       Plaintiff,
                                        Case No: 16-cv-13036-GAD-SDD
 vs.                                    Hon. Gershwin A. Drain
                                        Mag. Stephanie Dawkins Davis
 CITY OF DETROIT, a municipality,
 et al.,

 Jointly and severally,

       Defendants.

 SALVATORE PRESCOTT &                   CITY OF DETROIT LAW DEPT.
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 Nakisha N. Chaney (P65066)             2 Woodward Ave., Ste. 500
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       PLAINTIFF’S BRIEF IN SUPPORT OF MOTION TO COMPEL
                 WRITTEN DISCOVERY RESPONSES

       NOW COMES Plaintiff, DEMAR PARKER, by and through his attorneys,

SALVATORE PRESCOTT & PORTER, PLLC, and for his Brief in Support of his

Motion to Compel Written Discovery Responses, states as follows:
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I.    Background Facts

      Plaintiff is an African-American man. The Defendant police officers,

Christopher Townson, Jerold Blanding and Marcus Ways, are employed by

Defendant City of Detroit and are sued jointly and severally in their official and

personal capacities. All three individuals were agents acting in the course of their

employment by Defendant City of Detroit at all times in question. See Second Am.

Comp. ¶ 36. Specifically, this matter involves excessive force applied to Plaintiff

on the evening of August 14, 2015.

      On that date, Plaintiff arrived at his child and ex-girlfriend’s home. Id. ¶ 40.

Plaintiff observed through a window his then four year-old daughter being held by

an approximately ten year-old boy, as the boy simulated sex on her, “spooning” her

under a blanket. Id. ¶ 41. Plaintiff insisted on his daughter’s removal from the home,

but the child’s mother refused. Id. ¶¶ 42-49. The boy’s father is Defendant Townson.

Townson arrived armed, with the armed back-up support of Defendant Ways and

Defendant Blanding. Id. ¶¶ 55, 60. Defendants attempted to drive Plaintiff away

from the home, and when he left, got his car, and tried to take down their license

plates, Blanding shot Plaintiff in the leg and riddled his car with bullets, firing 16

times. Id. ¶¶ 67-74. Plaintiff was never charged with any crime based on the

interaction, yet Defendants deployed deadly force, shooting to kill Plaintiff through

his car window. Id.

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      Defendant Blanding, in particular, has a very dark history with the Detroit

Police Department (“DPD”). He recently shot and killed a nineteen year-old,

unarmed boy. He has been sued repeatedly for excessive force, and on information

and belief, the Defendant City has paid over $1,000,000 in cases involving him as a

Defendant. He also likes to shoot at animals with his service weapon, and goes by

the nickname “FATALFORCE.” See Second Am. Compl. ¶¶ 13-16.

      This case involves State law intentional torts such as assault and battery and

intentional infliction of emotional distress as to the individual Defendants. Under

42 U.S.C. § 1983, it also asserts that Defendant, City of Detroit, is permitting “an

ongoing failure to adequately train, supervise, investigate and discipline officers,”

and it was “on clear notice of recurring problems with excessive force” where the

“need to provide continued training to officers in the use of excessive force is plainly

obvious.” Id. ¶¶ 86, 88, 87. The Second Amended Complaint alleges that this is the

official policy and custom of, and is attributable to, the Defendant City and the

Detroit Police Department, among other reasons because supervisory officials

having final policymaking authority for the Defendant City knew, or should have

known, of the conduct complained of, and by action and inaction “agreed to,

approved, and/or ratified the unconstitutional conduct alleged. See generally id. ¶¶

86-103.




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II.    Procedural History

       Plaintiff served the discovery at issue on May 11, 2017. Plaintiff offered

Defendants every opportunity to answer fully, including extending the date to

answer. Defendants answered, in part, on June 14, 2017. The answers did not

include any details from officer Townson, who was experiencing health problems.

See Exh. A, Disputed Discovery Answers.

       Following receipt of the answers, Plaintiff’s counsel attempted at least five

contacts with Defense counsel to seek supplementation of discovery and correction

of incomplete answers. See Exh. B, Emails. Recently, Defendants assured that the

discovery was coming, and Plaintiffs withheld filing this motion, in reliance on that

assurance.

III.   Legal Standard

       Fed. R. Civ. P. 26(b)(1) provides that, “Parties may obtain discovery regarding

any nonprivileged matter that is relevant to any party’s claim or defense and

proportional to the needs of the case, considering the importance of the issues at stake

in the action, the amount in controversy, the parties’ relative access to relevant

information, the parties’ resources, the importance of the discovery in resolving the

issues, and whether the burden or expense of the proposed discovery outweighs its

likely benefit.”

       The Rule was recently amended; however, the Advisory Committee Notes

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explicitly recognize the amendment simply “restor[ed] the proportionality calculation

to Rule 26(b)(1)” that had been muddied in 1993 Rule amendments. The Rule change

was not intended to import a new method of affording discovery. Moreover, the notes

explain that “the change does not place on the party seeking discovery the burden of

addressing all proportionality considerations.”

      With regard to those considerations, since at least the 1983 amendments to the

Federal Rules, the Advisory Committee has recognized the unique public role played

by private attorneys general (plaintiffs) enforcing civil rights statutes. The notes thus

“recognize[d] that many cases in the public policy spheres, such as employment

practices, free speech, and other matters, may have importance beyond the monetary

amount involved.” Fed. R. Civ. P. 26(b), Advisory Committee Notes on 1983

amendments. Upon recent adoption of the amendment to the discovery standard cited

above, the Rules Committee felt it was important enough to emphasize this

consideration, so much so that it repeated the above text in the new comments to the

latest amendment, reiterating the importance of social justice causes. See also Irwin v.

Airco Carbide, 837 F.2d 724, 726 (6th Cir. 1987).

      The amended Rule’s direction to consider the parties’ relative access to relevant

information requires the Court to focus on what often is called “information

asymmetry.” As the Rules Committee explained:

      One party — often an individual plaintiff — may have very little
      discoverable information. The other party may have vast amounts of
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      information, including information that can be readily retrieved and
      information that is more difficult to retrieve. In practice these
      circumstances often mean that the burden of responding to discovery lies
      heavier on the party who has more information, and properly so.

Fed. R. Civ. P. 26, Advisory Committee Notes 2015 (emphasis added).

      The Sixth Circuit has made clear that a plaintiff in a civil rights suit must have

leeway to discover and introduce evidence of discrimination that may prove his case

indirectly and circumstantially. Robinson v. Runyan, 149 F.3d 507, 513 (6th Cir. 1998).

      As this Court is well aware, it is entitled to compel production of materials, per

Fed. R. Civ. P. 33, 34 and 37.

IV.   Discovery at Issue

      The disputed discovery at issue is attached as Exhibit A. The issues are as

follows:

      Interrogatory 1 – This interrogatory seeks information on who responded to
      the scene of the events at issue from DPD. Rather than answer, Defendant
      claims that it has provided “all materials” it has. This does not supply the
      details requested even as to people whose names can be found in what has
      been produced, such as rank and location of assignment, etc. This also is not
      correct, as seen below. “All materials” have not been provided, as seen from
      the face of the remaining discovery answers.


      Interrogatory 2 – This interrogatory seeks contact information for un-
      represented individual Defendants, to the extent the Defendant City will not
      be representing them. The City provided a provisional response relating to a

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       pending appeal of a decision on representation for the individual named
       Defendants, but it has not updated the discovery.               Plaintiff requests
       supplementation.


       Interrogatory 3 - Interrogatory 3 seeks information about the duty status of
       the officers involved, in that one of the defenses in this case is that the officers
       were not on duty when they attacked the Plaintiff. Answers are given for two
       of the individual Defendants, but not for Defendant Townson.


       Interrogatories 4 and 5 ask for training/education and work experience for
       each named Defendant. Answers are given for two of the individual
       Defendants, but not for Defendant Townson.


       Interrogatory 7 – This interrogatory goes to the individual Defendants’
       history of excessive or undue force, asking for prior instances of investigation
       for claims of such misconduct. Defendants object, and do not state whether
       they are withholding materials. On the contrary, they say they have
       “requested” a responsive file to answer. Documents produced to date reflect
       that Townson, for example, has 40 separate citizen complaints against him—
       many for excessive force. But after numerous attempts to resolve this matter
       without a motion, the “requested” files have never been produced. The history
       of excessive force on the part of these specific, named Defendants is clearly
       discoverable, and the lack of production has delayed the taking of depositions.


       Interrogatory 8 — This interrogatory seeks the names and contact
       information for potential witnesses, specifically those who have information
       on the complaints against the individual Defendant police officers. In other
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       words, the request is for the names of people who may have details about prior
       instances of misconduct by the named, individual Defendants. As set forth
       above, there are many citizen complaints against some of these Defendants.
       Yet Defendants do not answer, and refer (with a boilerplate, generic response)
       that this information may be in the personnel file. Plaintiffs do not see such
       information in the file they have received, and Plaintiffs do not even have the
       personnel file of Defendant Blanding or Defendant Ways. Only the file of
       Defendant Townson has been produced to date, meaning that even if the
       relevant information were able to be gleaned in the personnel files, Plaintiff
       does not have them.


       Interrogatory 9 – This interrogatory asks whether the individual named
       Defendants were on duty at times relevant. Defendant Townson has not
       answered.


       Interrogatory 10 – This interrogatory asks about times the Defendants have
       been sued for excessive force or misuse of authority. Defendant Townson has
       not answered at all, and the other two named Defendants have not made
       reasonable efforts to answer, refusing to provide names of parties, court case
       numbers, or how the matter was resolved. On information and belief, very
       significant money has been paid in prior suits against Defendant Blanding for
       excessive force. He needs to give a complete answer.


       Interrogatory 11 – This interrogatory asks when the Defendants have been
       disciplined. Defendant Townson has not answered, and for the
       other/remaining named Defendants, the answers reference a file that has been
       “requested” within DPD, but has not yet been turned over. In short, no
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       responsive information has been provided.


       Requests to Produce 1 and 18 — Request 1 asks for investigatory files
       around the shooting at issue. Request 18 specifies a request for all photos,
       videos and other tangible evidence. In response to both Requests, Defendants
       say they have provided the same, but the file produced to date contains
       information making 100% clear that not all of the file has been turned over.
       For example, the police who interviewed Plaintiff refer to video of the scene
       from a passing bus in an interview. No video has been produced. The same
       interviewers refer to witness notes, which have not been produced. Third,
       there is no video of various witness interviews, such as the interviews of the
       named, individual police Defendants—although the reports indicate their
       interviews were recorded.


       Request 2 – Defendants both object to this Request and say that the materials
       have been turned over. Fed. R. Civ. P. 34(b)(2)(C) requires clarification on
       whether items are withheld.


       Request 4 – This request seeks policies and procedure manuals applicable to
       the Defendants. Defendants claim this is broad, vague and irrelevant. This
       very standard request permits Plaintiff to evaluate the training, or lack thereof,
       which is at issue in this matter and forms a basis for the claims against DPD.


       Request 5 – This request seeks organizational charts applicable to the
       Defendants. Defendants claim this is irrelevant. This very standard request
       permits Plaintiff to evaluate the supervisorial chain, which is directly relevant
       to the claims against the City of a breakdown in supervision. Further, the
                                           9
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       answer—i.e., that supervision is irrelevant because the Defendants were “off
       duty”—hinges on the Court simply adopting a fact (“off duty status”), which
       is disputed and at issue. It is a bootstrap and not a basis for denying discovery.


       Request 6 – This request seeks DPD policies on seizing individuals.
       Defendants have answered that they are working on finding this, but they have
       not produced the materials to date after many attempts to resolve this matter.


       Request 7 and 27 – Request 7 seeks DPD policies on use of force. Request
       27 seeks policies and procedures on identified items, including the duty to
       investigate, the role of investigators, reports and completing reports, use of
       force and excessive force. Defendants have answered that they are working
       on finding this, but they have not produced the materials to date after many
       attempts to resolve this matter.


       Request 8 – This request seeks forensics on the incident at issue. Defendants
       have answered that they have produced this, but after many requests, Plaintiff
       does not, in fact, have such a thing. If there are no forensics, then Plaintiff
       simply requires that to be clarified.


       Request 11 – This request seeks training requirements for the named
       Defendants. The request is not for the training materials themselves, but for
       materials showing what training is required, for example, if there are
       standards or outlines of what training is scheduled at what intervals, etc.
       Defendants have claimed this is not relevant. However, the Second Amended
       Complaint alleges a lack of training directly as a vehicle for liability against
       Defendant, City of Detroit. Whether the Defendants were properly trained is
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       a specific fact in dispute, based on the denials on the answer to the Second
       Amended Complaint. See Second Am. Compl. ¶¶ 86-103 (alleging failure to
       train) and Defendant City of Detroit’s Answer to Second Am. Comp. ¶¶ 86-
       103 (disputing).


       Request 12 – This request seeks a subset of training materials at issue in this
       case, namely training on constitutional rights of witnesses and suspects.
       Defendants do not object, but claim they will produce the same. That has not
       happened, despite many efforts to resolve this matter.


       Request 13 – This request seeks proof of attendance at training for each of
       the named, individual Defendants. Defendants do not object, but refer to
       personnel files, which supposedly contain this information. However, Plaintiff
       does not have the personnel file of Defendant Blanding or Defendant Ways.


       Request 14 – This request seeks job descriptions for the named, individual
       Defendants. Defendants object, claiming this request is broad and vague.
       Either a job description exists or it does not. If not, that can be clarified. If
       one exists, Plaintiff may use it to assess any claim that the Defendants were
       not acting in the course and scope of their duty at times relevant.


       Request 15-17 and Request 24 – Request 15 seeks complaints about the
       Defendants, and Request 24 seeks use of force reports about them. Request
       16 seeks discipline for the same. Request 17 seeks investigatory files as to
       each such complaint. In response to each Request, Defendants roll out a
       boilerplate list of objections, then suggest that the information is in the
       personnel files (again, 2 of 3 of which have not been produced) and something
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       called the MAS files (0 of 3 of which have been produced). Plaintiff needs
       the materials that exist, and is also entitled to a straight answer about items
       possibly being withheld based on objections. See Fed. R. Civ. P. 34(b)(2)(C).
       Notably, the records produced to date 100% confirm that there have been prior
       complaints—many of them.


       Request 21 – This request seeks log books, recordkeeping, records, rolls, and
       timekeeping entries that DPD maintains to show where the named Defendants
       were assigned immediately before, on, and after the date at issue (four days’
       worth of information). On information and belief, the DPD maintains logs of
       car and weapon (gun and taser) assignments, etc. In response to this Request,
       Defendant, City of Detroit, answered that it had produced the same, but
       Plaintiff does not have these items. Plaintiff has attempted to make this clear
       repeatedly, but Defendant has not supplemented its answers.


       Request 22 – This request seeks recordings, such as 911 calls. Defendants
       have produced a dispatch tape which consists of dispatchers and officers
       talking to each other. It has not, however, produced 911 calls that the
       dispatchers reference in their taped exchanges (e.g., a dispatcher states DPD
       has had a call from a woman about shots fired). Plaintiff requires all 911
       recordings, as well as any tape of the officers on the scene.


       Request 25 – This Request seeks reports of the use of service weapons (guns)
       at the Defendant officers’ precincts the day before, of, and day after the event
       at issue (3 days total). Defendants are resisting, claiming this is “overly
       broad” and not relevant. The purpose is to determine if proper reporting
       procedures were used in reporting the discharge of a weapon at the Plaintiff.
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       The use of force, without proper reporting, and with no consequences, may be
       used to show ratification of the wrongful conduct at issue.


       Request 26 – This Request seeks policies on how and when various incidents
       are to be reported, such as the rules and procedures for reporting use of force,
       and/or use of a service weapon. Defendants claim this has been “requested,”
       but have not actually produced these items after many informal requests.

                                     Relief Requested
       Plaintiff, for the foregoing reasons, respectfully moves the Court to compel

 production on Interrogatories 1-5 and 7-11 and Requests to Produce 1-2, 4-8, 11-18,

 21-22, and 24-27.

                                        Respectfully submitted,
                                        SALVATORE PRESCOTT &
                                        PORTER, PLLC

                                         /s/ Sarah S. Prescott
                                        Sarah S. Prescott (P70510)
                                        Attorneys for Plaintiff
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                          CERTIFICATE OF SERVICE

       I hereby certify that on July 28, 2017, I electronically filed the foregoing

 document, Plaintiff’s Motion to Compel Written Discovery Responses and Brief in

 Support, and this Certificate of Service with the Clerk of the Court using the Court’s

 ECF system, which will send notification of such filing to counsel of record.

  Dated: July 28, 2017                      /s/ Tara L. Lank
                                           Tara L. Lank, Legal Secretary




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